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              EXHIBIT F
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Larry Hogan
"A common ground, bipartisan solution to health care? If Maryland Gov. Larry Hogan wants to have a lengthy career in politics, he probably needs to stop making so much sense...

A smattering of Carroll Democrats and even a potential Democratic candidate for governor from Montgomery County showed up at Carroll Community College to protest during Hogan's regional
cabinet meeting in Westminster on Thursday demanding some response from the governor to Trump.

In an interview at the Times offices later that day, Hogan gave one, although probably not one that those on either the left on the extreme right wanted to hear — Obamacare won't be preserved as­
is, but the current GOP plans to repeal and replace Obamacare likely aren't going to fly either...

'We have to fix those things that are broken,' he said Thursday, 'but we also have to protect the people that are covered under the Medicaid expansion.'"
                          Editorial: Hogan on the money when it comes to health care
                          carrollcountytimes.com
                          A common ground, bipartisan solution to health care? If Maryland Gov. Larry Hogan wants to have a lengthy career in politics, he probably needs to stop making




     5/15/2017 12:00 AM UTC

 150 reacted: Like(138): Brian Bowman, Shaveda Lolita Hallbank Rosenboro, Laura Layte, George Sherwood, Robert E Bates, Leatta Gray, Duke Speed, Margie Kamauff, Liz DeMott Yates, Luisa
 Belanger Wayson, Joanna Rosen, Samuel Perry, Dawn Andrews­Becker, Bethany Palmisano, Robin Livezey Nicholson, Tim Beckman, Gladys Guccione, Paul Corridean, Ruth Strickland, Steve
 Davis, Seng Hla, Karen Fritch, Rene Stafford, Barbara Wagner, Debbie Jenkins, Tyler Middleton, Jeanie Rolf Mihalko, David Castro, Matthew Schargel, Ed Weigman, Isaac Barkley, Dolores Para,
 John Startt, Rochelle Craig, Steve Smith, Nathan Zolp, Renee M Leary, Helen Darby, Mike Hemler, Art Smith, Colleen Busher, Michael Milam, Tammy Benson, Robert Drozd, Darryl Jones, Carole
 Marshall, Sharon Larrimore, Amy Knisely, Chandra Lyn, Debi Kim, Jerry Manolatos, Brad Metheny, John Fletcher, Gretchen Van Dyke Collins, Edgar Lee, Huong Ngo, Amrit Singh, Bob Amato, Carl
 Grohs, Nick Konialian, Scot Henderson, Welch Michael, Tanya Brice, Joanne Peterson Wharton, Brianna Jacqueline Darling, Steve Herl, Sandra Ryland, Shiva Shrestha, Robin Eisenacher Csiszar,
 Bryan Lee, Bonnie Glick, Frank Bernadzikowski, Dexter Housel, Inga Jackson, Cathy Reed­Fink, Chris Harkum Jones, Sandra Watts, Sharon Hazel Johnson, Nathan Feder, Jeff Fisher, Kevin
 Wilcox, William Moore, Kevin Bunn, Matt Grden, Bill Cappadora, Eileen Buckingham, John Brooks, Steve Kenney, Ashley Blandford, Elizabeth Slattery, Dean Denning, Jewel B Barlow, Janice
 Jewell, Rob Robin Bugos, David Capps, Katie Williams, Bruce Thomas, Linda Giuffre, Steve Pattee, Erik Champenois, Dennis Renehan, Linda Becker Herlehy, Collins Jones, Larena Merson, Danny
 Geehreng, Bob Martin, Marjorie Thomas, Luigi Domenico, Alek Berger, Daniel Carter, Kristopher Gaasch, Joseph Johnson, Margaret Gillich, Amanda Scimone, Chris Groobey, Carol Larese
 Millward, Forrest Ewing, Jonathan Anderson, Matthew B. Talley, John R. Stichberry Jr., Ford C. Waggoner III, Sharon Blough, VerShawn Jones, Carol Anne Gartland, Kieran Carroll, Dan Brown,
 Valerie Takesue, John Kosciolek Jr., Sharon Sigler, Anne Presbury, Gary Galmin, Patricia Hildt, Adam Howlett, Will Shartzer, Carl Born, Kathleen Peddigree, Lori Krunze, Mickey Senate, Love(10):
 Nathaniel Sansom, Ed Webster, Kristen Ashley, Mike Rickman, Amy Berger, Robert Trew Brown, Margaret Jamar, Cynthia Thatcher, Michael Algeo, Cathy Hatley­Felker and 2 more

 72 comments

         Cheryl Everman Do you also publish opinion pieces that are critical on your official page? Seems a bit self­serving ­­ No?
         5/15/2017 12:33 AM UTC

             Matthew B. Talley Often he does, giving him the chance to respond to that criticism.
             5/15/2017 12:36 AM UTC · Reply

             Patricia McLaughlin Doe The Democrats just pick, pick, pick with no justification.
             5/15/2017 12:43 AM UTC · Reply

         Katherine Anne How about a serious bipartisan effort towards Single Payer to pre­empt the protests? HR676 now has bipartisan support now and over 100 co­sponsors. How great
         would it be for businesses if they weren't being distracted and burdened by the administration of health insurance as an employee benefit? How ridiculous is it for health coverage to be
         tied to employment at all? How many layers of finance industry profit are embedded in the US Healthcare system making it the most expensive and most poorly coordinated in the world?
         Please help us, Gov. Hogan! Please. A major barrier to starting a small businesses is the cost and complexity of our health insurance model.
         5/15/2017 12:45 AM UTC

             Missey Serpentina Eaton That would require both sides thinking it's a good idea.
             5/15/2017 12:52 AM UTC · Reply

             Katherine Anne It's already happening...
             5/15/2017 1:02 AM UTC · Reply

             Tom Weaver single payer is a bad ­ gives government control of 1/5 of the us economy and destroys liberty of the individual. sorry but this nation was founded under the idea that
             the individual was supreme and single payer makes the government supreme over the people .
             5/15/2017 1:51 AM UTC · Reply

             Katherine Anne Simplify and remove the profit and the waste and voila ­ it's no longer 1/5 of our economy. Individuals who can afford to self insure are certainly 'free' to opt out. A
             major destroyer of liberty is the price tag of staying alive.
             5/15/2017 1:54 AM UTC · Reply

             Jay Narvell Katherine Anne Id love to see your plan for making that happen. it won't.
             5/15/2017 4:16 AM UTC · Reply

             Richard Kuhlmeyer Our government is not known for the ability to control expenses but they are great at spending our tax dollars. Take a look at how they have managed
             Medicare. You also can't have health care reform without Tort Reform. Doctors should not have to order every test known to man to protect themselves from legal action.
             5/15/2017 8:31 AM UTC · Reply

             Jamy Pizzini Single payer is fantastic around the world compared to Obamacare OR this "new" idea, or our old system. The fact that big businesses control 90% of our economy
             doesn't bother most Repubs or Dems, but talk about making healthcare non­profit and for the people, and all of the sudden we're scared of the Gov? lol I can't even. Insurance
             companies have been scamming people and letting conditions go untreated, allowing ppl to Die.....it's the Gov I should fear? Not at all.
             5/15/2017 10:39 AM UTC · Reply

             Katherine Anne For those of you opposed to single payer, consider the fact that large companies self­insure health coverage for their employee population and dependents. They
             pay the claims and insurance companies like United Healthcare do the paperwork and actuarial calculations so the company's financial officers can forecast the costs. Why do they
             do it this way? Because it's the least expensive model for the business. But why does my employer have to be involved in my healthcare at all? Talk about privacy issues! Why does
             healthcare stop me from leaving and starting my own small business or independent consultancy? This is not freedom, we are enslaved to our employers in order to have health
             coverage. It doesn't have to be this way. The US Govt can do what large businesses already do to cover large populations. Just do it for all of us at the country­scale, and take
             employers out the equation.
             5/15/2017 12:32 PM UTC · Reply

         John Hamilton This is fake. There are no Democrats in Carroll county.
         5/15/2017 12:51 AM UTC

             Nancy Bauman Cristiano I heard that.
    5/15/2017 12:32 PM UTC · Reply

John Hamilton This is fake. There are no Democrats in Carroll county.
          Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 3 of 37
5/15/2017 12:51 AM UTC

    Nancy Bauman Cristiano I heard that.
    5/15/2017 1:18 AM UTC · Reply

    Randy Jones Keep it that way or they will ruin it. They ruin everything they do EVERYTHING
    5/15/2017 1:52 AM UTC · Reply

    Scott Judy There's two or three running around.
    5/15/2017 10:23 PM UTC · Reply

Bob Martin Great Governor
5/15/2017 12:52 AM UTC

Veronica France­rawlins Governor Hogan makes sense.
5/15/2017 12:54 AM UTC

Shawn Huffman #neversinglepayer #socializedmedicinesucks
5/15/2017 12:55 AM UTC

    Alex Paciga Because the current system doesn't. Nah. It's time we gave single payer a try
    5/15/2017 11:17 AM UTC · Reply

    Shawn Huffman No thanks!
    5/15/2017 11:23 AM UTC · Reply

    Shawn Huffman And I agree the aca does suck...
    5/15/2017 11:24 AM UTC · Reply

Jim April Screw socialism. You either want it or you don't. Small business is not a license to pick the tax payers pocket. Safety nets for those truly in need on a case by case basis. The
government can't run a business, that is not their job. Their job is to just provide basic services such as public safety, maintain roads and represent the people, not pick their pockets and
teach only radical left wing biased socialism and corrupt morals.
5/15/2017 12:56 AM UTC

    Nancy Bauman Cristiano Don't expect your caregivers to look after you for free in your old age, is my advice.
    5/15/2017 1:19 AM UTC · Reply

Janice Lepore I would like to hear more about the specifics of what your plan forward would look like, rather than just criticism of the current options. 

For example, how would you protect Maryland Medicaid recipients given the proposed cuts? 

As the bill currently stands, it gives the state governors the power to ask for a waiver to the current basic coverage requirements. Would you ask for such a waiver? Andy Harris has
said he voted for the bill partially because he believes our state is protected by the standards we have in place, but would they remain? 

How would you protect Marylanders with pre existing conditions from exorbitant health care costs or being priced out of coverage? Given the prior problems with the high risk pools,
would you return to that model, and how would you ensure they work? 

I look forward to hearing more about the specifics of how you would govern in Maryland on this critical issue.
5/15/2017 1:01 AM UTC

Ronnie W Goddard People have it in their head now health care is a human right. That's not going to go away now and it shouldn't.
5/15/2017 1:06 AM UTC

Jake Mohorovic Governor makes sense
5/15/2017 1:23 AM UTC

Diana Semelsberger The insurance industry needs to have more controls on what/how they provide coverages. The language that they use is not basic. It is meant to confuse. They
can change coverage/or the rules (i.e.:authorization requirements) in the middle of a year..after contracts are signed. I don't know of any other business that can change the rules of the
game in the middle do you? For non medical people understanding the coverage is nearly impossible. Even for those who deal with it daily it's confusing. There's so much more that needs
to be talked about. The ACA was full of flaws. Let's not make things worse by rushing a bill that doesn't make things better.
5/15/2017 2:02 AM UTC

    Helen Darby exactly! There is no "shopping around", making informed decisions, because there is no transparency.
    5/15/2017 11:03 AM UTC · Reply

John Yost Obamacare was a train wreck from the start. What else needs to be said?? Repeal and replace it.
5/15/2017 2:34 AM UTC

    Helen Darby you have no idea what you are asking for. Repeal will be very bad. Same lack of protections will apply to medicare too. Watch out!
    5/15/2017 11:04 AM UTC · Reply

Catherine C Nobles If you want to see what single payer is like go and live in a country who has single payer for one year. Try and see a doctor and pray you don't get really sick.
Lived in three countries who were single payer.
5/15/2017 2:43 AM UTC

    Enrique Marroquin Gonzalez That isn't true, Go and try to take away single payer for any country in Europe! LOL
    5/15/2017 4:27 AM UTC · Reply

    Vera Rivers You are correct, Catherine C Nobles. Single payer in other countries does not give Cadillac care. It gives Bronze care. If you Cadillac care, you have to pay for it.
    5/15/2017 11:57 AM UTC · Reply

    Catherine C Nobles Enrique Marroquin Gonzalez I lived in Europe. In England and Ireland many people have private insurance. In Ireland there' are over 34 thousand single payers
    waiting for hospital beds 13 thousand of which are children. In England when you go in for surgery the resident preforms the surgery, the surgeon goes from Operation room to
    Operation room to check on the procedure and make sure it's going OK. I would love to hear what an American would say if they were told this is how it was going to happen to
    them. My brother pays 2,000 euros per year and 120 euros per visit for family doctor 180 euros for specialist , all per visit. I could go on but the stories are endless. A healthy person
    would be happy with the program but talk to one who has health problems and you will get the truth
    5/15/2017 12:40 PM UTC · Reply

    Betty Tilley Catherine C Nobles I had a surgeon here in the States years ago. His wife was from England and warned me of single payer and asked that I fight it here. She also
    spoke of people dying waiting for care. No system is going to be perfect but government controlled NO. My husband is in the VA system and we see how it operates.
    5/15/2017 2:02 PM UTC · Reply

    Peg Adamarczyk Everyone touts single payer health care in Canada but a Canadian cousin was referred to a neurologist. Wait time? Six months going through the system. Private
    5/15/2017 12:40 PM UTC · Reply

    Betty Tilley Catherine C Nobles I had a surgeon here in the States years ago. His wife was from England and warned me of single payer and asked that I fight it here. She also
    spoke of people dying waiting for care. No system is going to be perfect but government controlled NO. My husband is in the VA system and we see how it operates.
          Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 4 of 37
    5/15/2017 2:02 PM UTC · Reply

    Peg Adamarczyk Everyone touts single payer health care in Canada but a Canadian cousin was referred to a neurologist. Wait time? Six months going through the system. Private
    care is available. Getting an appointment is quicker but isn't covered under government program, so treatment would be strictly out of pocket. Don't believe everything we hear from
    MSM about single payer that's for sure.
    5/16/2017 6:02 PM UTC · Reply

Helen Ankney Love my Governor! Larry Hogan will save Maryland from the madness of the imploded democratic party. Vote out Mike and Mike!
5/15/2017 2:50 AM UTC

Thomas Coleman How about get government out of Health Insurance all together. Have had insurance all my life until the Government took it over. Now I pay cash because I can't
afford the premiums.
5/15/2017 3:00 AM UTC

    Helen Darby Wait until you have to pay cash for an emergency! Believe me, I was in medical field years ago when the insurance companies decided who lived and died­ received
    medical care. You don't want that.
    5/15/2017 11:06 AM UTC · Reply

    Thomas Coleman No I don't but I don't want government involved. How's the MVA working or how about social security or insert any social justice program in the last 100 years.
    5/15/2017 12:14 PM UTC · Reply

Marney Moore He has been outspoken about the need for changes? Where? He hasn't been saying a dang thing until a couple days ago. Other republican governors have been
discussing it, I haven't seen him saying a dang thing and this effects marylanders. We cannot assume that the house version with its cuts to medicaid and states can decide that
preexisting conditions don't need to be covered.
5/15/2017 3:22 AM UTC

Deborah Trunnell Allen Bring back the Maryland Health Insurance Plan!
5/15/2017 5:10 AM UTC

Huong Ngo Like. Reply
5/15/2017 5:46 AM UTC

Jared Neale Healthcare should be a right of every man, woman, & child and not a cheap product that you allow insurance companies sell us..... Or not sell to us. How are you going to
make that happen, Mr. Governor?
5/15/2017 9:48 AM UTC

    Mitchell Kalavan I tell ya how..

    Head to Canada snow puff
    5/15/2017 10:24 AM UTC · Reply

    Jared Neale Actually, I'm going to fight every day of my life to make it happen. And you'll pay for it.

    But thanks for displaying how you're a digesting human being who slings insults at other Americans who just want to stay alive.
    5/15/2017 10:26 AM UTC · Reply

    Ed Weigman Jared, You're right, Healthcare is a right of every American citizen and nobody is preventing you from paying for your own plan. Your self entitled attitude is what is
    bankrupting this country. Everytime somebody wants something and does not want to pay for it, all of a sudden it becomes a 'right of the american citizen' which is then paid for by
    the hard working american taxpayer. You also have a right to self responsibility and that sir, is free!
    5/15/2017 12:05 PM UTC · Reply

    Jared Neale No, the fact that your brainwashed into thinking you don't have to pay for services is what is bankrupting this country. I pay taxes because and I demand some things in
    return. I'm even willing to pay more in taxes. I understand you can't get something for free. Taxes are a fact of life.
    5/15/2017 1:03 PM UTC · Reply

    Ed Weigman Here's something that might be of interest...on YouTube, search 'Hank Johnson Guam Island'. This might help you decide whether you want to pay more taxes or not.
    5/16/2017 4:53 AM UTC · Reply

Jamy Pizzini We need healthcare to be a basic human right. Insurance is a scam/gamble w pls lives, needs to disappear now. It's been exposed as a con by Obamacare. 
Remember.....healthcare is not insurance. We don't NEED to let ppl profit on life and death. Just like any other non­profit humanitarian system, salaries can be paid, school can be paid for,
we can train doctors and nurses and actually care about each other, or...keep the crap we got. Hmmmmm
5/15/2017 10:42 AM UTC

    Ed Weigman Reference above comments.
    5/16/2017 4:53 AM UTC · Reply

Helen Darby Hogan, you better protect Maryland or kiss your job good bye. You know what the right thing is. AND stop kissing up to tRump and buddies
5/15/2017 11:02 AM UTC

Gl Pierre You have a good argument here, but maybe focus on southern Maryland and PG county. 

For some reason housing and education and public transit is less stellar than other parts of MD. The job market is bleak in those areas and the streets aren't as clean. 

How can those areas look like Chevy Chase or Potomac?
5/15/2017 11:11 AM UTC

Lorri Thomas I heard MD health insurance rates are going up 50% next renewal. That will be unsustainable!
5/15/2017 11:48 AM UTC

    Bill Doucet ... and that is without changing the ACA!!!
    5/15/2017 12:19 PM UTC · Reply

Philip Pease Bipartisan means Republican and Democrat politicians; and both parties are lobbied by corporations who use health care to make profit. Other nations said NO to health
care being a money making business and instituted a system that works for the benefit of their citizens. The result is better health care for everyone at lower cost. America pays far more
and has poorer health because corporate profits rule over America's two major political parties. The time has come for citizens to demand Medicare for all.
5/15/2017 12:26 PM UTC

Sherry Reich OMG!! A politician who makes sense!!! I love our Gov.
5/15/2017 6:45 PM UTC

Enrique Marroquin Gonzalez Who has he appointed for Health care? Someone that is against ACA.
5/16/2017 8:01 AM UTC
Sherry Reich OMG!! A politician who makes sense!!! I love our Gov.
5/15/2017 6:45 PM UTC

         Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 5 of 37
Enrique Marroquin Gonzalez Who has he appointed for Health care? Someone that is against ACA.
5/16/2017 8:01 AM UTC
                   Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 6 of 37


Larry Hogan
"This will long be remembered as a low point in Maryland's legislative history." ­Governor Larry Hogan
                          Change Maryland
                          "This will long be remembered as a low point in Maryland's legislative history." ­Governor Larry Hogan 

                          Today the General Assembly voted to override Governor Hogan's veto of a terrible bill that will trap our students in failing schools. This misguided and horrible bill
                          prioritizes the politics of the teachers' union and jeopardizes $250 million per year in federal education funding ­ more than $1 billion over five years.


 *** 4/7/2017 11:30 AM UTC

 3 tags: Larry Hogan, Change Maryland, 1686967367995086

 75 reacted: Angry(35): Dexter Housel, Karen Atkins Thomas, Kelly Craft, Christopher Brous, Michele Kelly Colburn, Susan Flanders, April Peugh Holland, Jodi Brandes Slein, Carol Beatty, Erin
 Kellough Murphy, Rick Parkhurst, John Hamilton, Rob Vlk, Reilly Harbison, Peggy Parker, Michael Keith Bailey, Nedra Reidy Hicks, Sean Dennis, Jessica Brooks Hatcher, Jeff Miller, Cheryl Smith,
 Jenni Mayer, John Robinson, Libby Vreeland, Mary Lou Stevens, Diane Moore Mielke, Jonathan Anderson, Allison Chetney Heintz, Patricia Rowe, Marty Utz, David Marron, Sally Michaelis, Michelle
 Rodriguez Helvig, Lisa Glacken, Angela Marie, Like(31): Michele Wootten Johnson, Chris Salmi, Kelly Price, David Capps, Theresa Trader, Christopher Floyd, Diego Hernandez, Tiffany Plattner
 Robinson, Huong Ngo, Candace Martino, Shelley Marshall, Sarah Horwath, Kristopher Gaasch, Karen Blake Klosterman, Deke DaSilva, Hannah Marr, Andre Penzes, Pietro Aretino, Anita
 Greenstone, Amrit Singh, Bob Quinn, Sharon Blough, Emma L. Arrington, Eric Crouse, Julia Corder, Boomer Bozarth, Gregg Williams, Sandra Watts, Kelly Bukowski, Jessie OB, Kathy Brown,
 Sad(8): Rosemary Bunda, Christine Doyle, Katherine Yunkun, Laurie Close Bjorlykke, Claude Romano, Tania Rosa Bindhoff Frieswyk, Lourdes Benitez, Janet Westervelt, Wow(1): Sherri Boline
 Thomas

 84 comments

         John T. Sly It is an unfortunate result. But, it reveals ­ if we ever needed confirmation ­ that the Democrats in Maryland are driven by their reliance on the interests of the teachers' union
         and not the interests of the children who live in their districts.
         4/7/2017 11:34 AM UTC

         Aimee Pohl We won!!!!
         4/7/2017 11:40 AM UTC

             Larry Hogan The kids lost.
             4/7/2017 8:35 PM UTC · Reply

             China Williams Larry Hogan Who posts as "Larry Hogan"? Your posts and interactions with constituents are not professional. Are these the actual words from the Governor?
             4/7/2017 9:37 PM UTC · Reply

             Aimee Pohl The kids won, too!
             4/7/2017 9:39 PM UTC · Reply

             Lawrence Kidd The kids lost to a bunch of self­righteous democrats. China, take a look at some of your own posts before you start speaking of professionalism. Aimee, I guess it's
             not surprising that you wouldn't care about children, looking at your profile picture.
             4/8/2017 4:42 AM UTC · Reply

         Lisa Glacken The Democrat legialature will sacrifice children in order to secure the teachers union votes. Shameful....
         4/7/2017 11:43 AM UTC

         Sylvia Denny Do not understand. Does this get rid of communist core? If so, then I agree with it. If it does not then I do not agree with it.
         4/7/2017 11:44 AM UTC

             Brendan Maltese It doesn't get rid of Common Core, but it does weaken it because of the reduction in weight given to standardized tests.
             4/7/2017 12:00 PM UTC · Reply

             Janice Lepore It doesn't set curriculum, that is up to the State Board. It sets guidelines for the plan the Board needs to develop to be in compliance with the federal Every Student
             Succeeds Act ­ including accountability measures that use but also look beyond standardized testing, and requiring the State to work with local stakeholders instead of unilaterally
             taking over a district.
             4/7/2017 12:13 PM UTC · Reply

         Janice Lepore Or:

         1) Requires the state to work with local stakeholders to decide what steps should be taken to improve schools, including, with local input, charter options. 

         2) Is in the opinion of the Attorney General within compliance with ESSA, which places no funding at risk 

         3) De emphasizes the focus on standardized testing as the main accountability measure, requiring a broader assessment of schools.

         4) Puts the interests of the public schools ahead of the interests of privatization companies. 

         Teachers unions aren't even mentioned in the bill (though they and many others supported it) so bot sure how to address that complaint. 

         Still interested in your plan and path forward.
         4/7/2017 11:44 AM UTC

             Brendan Maltese I hope you're screenshotting all of these comments. I used to post things like this and got blocked. Finally got unblocked last week after a dozen phone calls to his
             office. I still can't comment on Change Maryland posts.
             4/7/2017 12:02 PM UTC · Reply

             Larry Hogan This is complete nonsense. I'm sorry you have been so misled.
             4/7/2017 8:43 PM UTC · Reply

             Janice Lepore Larry Hogan, this is the second time now I've seen someone specifically ask for your plan and your response has been dismissive and rude. You can't even seem to
             meet disagreement with respectful discussion. That is truly nonsense.
             4/7/2017 8:51 PM UTC · Reply

             Sean Berry Janice Lepore you sounded offended that the governor responded to you directly. Maybe you should find a new state that meets all your goals. I understand that
             California has become a complete liberal CF, I could help you pack.
             4/7/2017 9:05 PM UTC · Reply

             Janice Lepore Sean when someone expresses interest in your plan, a direct response is to a) offer your plan b) direct the individual to where the plan has already been laid out or
    Sean Berry Janice Lepore you sounded offended that the governor responded to you directly. Maybe you should find a new state that meets all your goals. I understand that
    California has become a complete liberal CF, I could help you pack.
          Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 7 of 37
    4/7/2017 9:05 PM UTC · Reply

    Janice Lepore Sean when someone expresses interest in your plan, a direct response is to a) offer your plan b) direct the individual to where the plan has already been laid out or
    c) acknowledge you have no actual plan. Maryland deserves real leadership, and Mr. Hogan's commentary on this topic does not reflect that.
    4/7/2017 9:11 PM UTC · Reply

Mike Hickey Typical corrupt politics in Annapolis putting their donors ahead of their constituents
4/7/2017 11:48 AM UTC

    Brendan Maltese Funny, since Betsy DeVos literally bought her position at the Department of Education, and this law serves to protect against the "return on investment" that she
    has explicitly stated that she expects.
    4/7/2017 12:05 PM UTC · Reply

    Brendan Maltese If that's not corruption, I don't know what is.
    4/7/2017 12:31 PM UTC · Reply

    Mike Hickey Brendan Maltese obviously you do not know what is corruption
    4/7/2017 6:42 PM UTC · Reply

    Brendan Maltese Enlighten me.
    4/7/2017 6:58 PM UTC · Reply

    Mike Hickey Brendan Maltese Do your own research and stop drinking the democrat Kool Aid
    4/7/2017 7:31 PM UTC · Reply

    Brendan Maltese Corruption ­ noun ­ dishonest or fraudulent conduct by those in power, typically involving bribery.

    Bribe ­ verb ­ persuade (someone) to act in one's favor, typically illegally or dishonestly, by a gift of money or other inducement.

    DeVos: "My family is the biggest contributor of soft money to the Republican National Committee... We expect a return on our investment."
    4/7/2017 7:35 PM UTC · Reply

    Brendan Maltese Is that enough research for you?
    4/7/2017 7:35 PM UTC · Reply

    Mike Hickey Brandon, you are not worth my time because you obviously believe in big government, union control and lack of freedom You have been blocked
    4/7/2017 7:38 PM UTC · Reply

    Debi Fetrow Jasen Mike Hickey Do you block everyone whose logic you can't form a cohesive argument against? 
    I know very little about this bill. I do know that Brendan Maltese made much more of an effort to use facts as part of his argument, and you just threw opinions and insults at him.
    Rather than allow for the possibility that you may have something to learn, you block him. What does that say about you?
    4/7/2017 8:19 PM UTC · Reply

    Mike Hickey Debi Fetrow Jasen No, I seldom block anyone, but sometimes Trolls are not worth the effort of reading and responding And there is nothing for me to learn from a liberal
    socialist big government anti freedom poster
    4/7/2017 8:20 PM UTC · Reply

    Betsy Frohlich It's apparent that mike hickey doesn't comprehend what bribery and corruption are.
    4/8/2017 4:44 AM UTC · Reply

    Debi Fetrow Jasen Mike Hickey Do you have a history with Brendan Maltese? I don't see anything in this particular discussion that indicates that Maltese is a troll or a liberal,
    socialist, big government, anti freedom poster. I just see that you two disagree on some things. That you two disagree on these particular things doesn't make him a bad person and
    you a good person, or vice versa. It just means that you disagree on some things. I don't see why you'd make the accusations you made, or why you'd name­call at all.
    4/8/2017 6:55 PM UTC · Reply

    Mike Hickey Debi Fetrow Jasen Have have seen enough of his posts to know that his opinion has no value to me, and my comments are based on the opinions he espouses Please
    note that I did not personally attack him, I made an observation based on his actions and comments here and elsewhere
    4/8/2017 7:59 PM UTC · Reply

    Mike Hickey Betsy Frohlich Having lived under the corrupt political system in Maryland for most of my life, I know what corruption is, and I also know that bribery takes many forms
    4/8/2017 8:01 PM UTC · Reply

    Debi Fetrow Jasen Mike Hickey Your comments come across very much as attacks.
    4/8/2017 9:59 PM UTC · Reply

    Mike Hickey Debi Fetrow Jasen Oh well, too bad so sad, I really do not care
    4/8/2017 10:31 PM UTC · Reply

Sandra Watts these corrupt democrats need to be voted out period.
4/7/2017 11:49 AM UTC

Allison Chetney Heintz Of all the decisions the legislature has made in its history, a decision to increase community responsibility for failing schools and decrease the impact of
standardized testing is the low point? Instead of continuing to deride this important bill, I'd like to hear your plan for schools going forward.
4/7/2017 11:50 AM UTC

    Larry Hogan Maybe you should read the plan.
    4/7/2017 8:37 PM UTC · Reply

    China Williams Larry Hogan It is easy to overlook information. Please post the plan here.
    4/7/2017 9:39 PM UTC · Reply

    Brendan Maltese Please direct us to the plan. Obviously, we're having a hard time finding it.
    4/7/2017 10:03 PM UTC · Reply

Marney Moore Why is it, that if you don't agree with governor Hogan, they are corrupt democrats instead of marylanders who disagree with you. They are not corrupt, they just don't
agree with you.
4/7/2017 11:55 AM UTC

    Mike Hickey Actually the politicians are more interested in their donors than their constituents, which in my opinion is a definition of corrupt
    4/7/2017 7:32 PM UTC · Reply

    Marney Moore So all polticians are corrupt? Because our system forces them into a constant obsession with money to campaign to keep their jobs? Because we encourage dark
4/7/2017 11:55 AM UTC

    Mike Hickey Actually the politicians are more interested in their donors than their constituents, which in my opinion is a definition of corrupt
          Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 8 of 37
    4/7/2017 7:32 PM UTC · Reply

    Marney Moore So all polticians are corrupt? Because our system forces them into a constant obsession with money to campaign to keep their jobs? Because we encourage dark
    money and corporate money? We need to get the money out of politics by decreasing the length of primaries and limited the amount of donations that corporations can make.
    4/7/2017 8:45 PM UTC · Reply

Cassius Evans of course since the 70s hirings to structure massive failures and enslavements into complete ignorances of stupities of that designed rat hole these hirings of high
salaries
4/7/2017 12:07 PM UTC

Alana Suskin Funny how our failing schools in Montgomery County are some of the top rated in the country.
4/7/2017 12:29 PM UTC

    Mike Faery But can't figure out how to go to school after Labor Day, and finish before June 15. 

    I'd hold up on all the awesome talk about Montgomery county
    4/7/2017 1:46 PM UTC · Reply

    Alana Suskin Yes, let us def blame MoCo for a problem instituted by Gov. Hogan.
    4/7/2017 2:36 PM UTC · Reply

Gregg N Hartz Jr. I'm still hoping one of my many friends in education can explain what I'm missing here. Did the GA help students with this bill or not?
4/7/2017 12:32 PM UTC

    Brendan Maltese I'm a teacher. This act gives less weight to testing than before, and it leaves decisions to local school systems, instead of making it easy for the state board to
    swoop in and privatize a "failing" school.
    4/7/2017 12:52 PM UTC · Reply

    Jodi Baldwin Brendan Maltese Hence why Hogan is against it, it makes it less lucrative for the DeVos' of the world.
    4/7/2017 1:18 PM UTC · Reply

    Holly Huntley So allowing Balto City to continue to run it's ever failing schools is ok with you?
    4/7/2017 1:44 PM UTC · Reply

    Brendan Maltese Baltimore City has problems, I'm not denying that. I just don't think privatizing the City school system is a good solution, nor do I think the entire state should be
    subject to punishment just because one jurisdiction has issues.
    4/7/2017 4:05 PM UTC · Reply

    Gregg N Hartz Jr. Less weight to the tune of $200 million per year in federal funding due to non­compliance with federal requirements? Am I wrong on concluding we now have the
    fox guarding the hen house?
    4/7/2017 4:48 PM UTC · Reply

    Brendan Maltese That federal funding is not in any more jeopardy than it was before the bill passed. It's just a scare tactic.
    4/7/2017 6:36 PM UTC · Reply

Remash Guyah Governor DeVos, oops, Governor Hogan, you continue to put down our schools even though we are highly rated in the US. Get over it
4/7/2017 1:17 PM UTC

    Holly Huntley Not all schools in Maryland are highly rated. Look at Baltimore City where corruption has taken over common sense. I think what Hogan was trying to accomplish was
    to make the districts with failing schools more accountable and allow a take over if deemed appropriate. He wasn't targeting the already successful schools.
    4/7/2017 1:48 PM UTC · Reply

    Craig Brown Prove that.
    4/7/2017 5:09 PM UTC · Reply

    Remash Guyah It doesn't take much searching to find facts. Hogan is wrong on this
    4/7/2017 6:24 PM UTC · Reply

    Mike Hickey So Baltimore and PG county schools are highly rated?
    4/7/2017 7:16 PM UTC · Reply

Jon Piper Apparently our schools need to spend more time on math and meme construction....$250,000,000 per year at risk, $1,000,000,000 over 5 years breaks down to $200,000,000
per year.....
4/7/2017 1:50 PM UTC

Karen Gibson Scheffenacker If schools failing need to look at why I don't think more money spent is always the answer.
4/7/2017 1:53 PM UTC

    Susan Frank As a retired MD educator, I can tell you that you are so correct. Unless there is real accountability with all students learning, there will be no change irregardless of
    money.
    4/8/2017 3:36 PM UTC · Reply

    Karen Gibson Scheffenacker Susan Frank Yes I bet you do know & I don't know why they aren't talking to teachers sometimes I think it's about popularity & votes. Everyone with
    younger kids now are aware of problem of kids going to school unprepared, late, tired etc.
    4/8/2017 3:39 PM UTC · Reply

David Bilger Only ones to really blame are the people of MD who keep electing these people into the legislature. Had the wised up and saw what was really going on, better people could
get elected to make sure things are handled correctly.
4/7/2017 2:50 PM UTC

    Susan Frank I agree, and I live in MD. However, I don't think Marylanders really care because the liberals here have their followers totally brainwashed.
    4/8/2017 3:35 PM UTC · Reply

John Hamilton I didn't think they could go any lower than allowing felons the right to vote. But they have surpassed even that. Thank you Gov Hogan for trying to stop this nonsense.
4/7/2017 4:33 PM UTC

Rick Parkhurst Once again Busch and Miller put the teachers union ahead of Maryland school children.
4/7/2017 5:43 PM UTC

Fran Indigo Voucher school program are not for Maryland.
4/7/2017 6:36 PM UTC
        Rick Parkhurst Once again Busch and Miller put the teachers union ahead of Maryland school children.
        4/7/2017 5:43 PM UTC

                  Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 9 of 37
        Fran Indigo Voucher school program are not for Maryland.
        4/7/2017 6:36 PM UTC

        April Peugh Holland It's time to clean house Maryland!
        4/7/2017 7:09 PM UTC

             Susan Frank YES!
             4/8/2017 3:36 PM UTC · Reply

             Greg Youll You shouldn't believe what Hogan says as he misrepresents the actual effect of the bill.
             4/9/2017 5:23 AM UTC · Reply

             April Peugh Holland Well Greg, I still believe we need to clean house.
             4/9/2017 9:24 PM UTC · Reply

        Crystal Shirley­Garcia Nice response to the Montgomery County BOE president.
        4/7/2017 9:42 PM UTC

        Greg Youll This is good news. Here's why.
        4/8/2017 2:43 AM UTC

        Charles Singer Stop funding illegals.
        4/8/2017 4:04 AM UTC

             Susan Frank Agree!
             4/8/2017 3:33 PM UTC · Reply

        Joe Tebo Katrell Smith ­ DOB 07/1991, ARRESTED 24 TIMES IN 5 YEARS, including 1st degree assault, 2nd degree assault and numerous drug charges. Was released on his own
        recognizance (no bail required) in late December. Less than a month later, he shoots and kills Angelo Wheeler after an argument. Attorney General Froshs orders to release these dirt
        bags on a just a promise claims another life. He and the "social justice" clan have blood on their hands. This thug should have been held without bond. But frosh doesnt give 2 shits about
        public safety. Neither does Miller and his clan in Annapolis. Maryland is a FREE CRIME STATE....
        4/9/2017 12:04 AM UTC

        Tricia Grimes Willis Teachers unions are not against students. Teachers unions are made of teachers who dedicate themselves to children. The union as a whole typically supports
        democrats that is true and that's why Hogan wants to demonize them. Moco could easily follow his calendar plan but they know that it is not what is best for teachers and students so
        they are standing up for them like they should. Maryland schools have been ranked in the top 3 in the nation for the past 8 years. If you want to fix schools start actually listening to
        teachers. And no I'm not a democrat.
        4/10/2017 11:55 AM UTC

*** Last time when these items were scanned Facebook server did not return these elements. This may indicates that elements have been deleted, or that Facebook has no longer provided it.
                  Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 10 of 37


Larry Hogan
I'm sad for the kids they are trapping in failing schools, and concerned about losing our federal education funding. This will long be remembered as a low point in Maryland’s legislative history.
                           Md. Lawmakers Override Gov.'s Veto On Struggling Schools Bill
                           baltimore.cbslocal.com
                           The Maryland General Assembly has overridden Gov. Larry Hogan's veto of Maryland's blueprint for identifying and assisting struggling schools.




     *** 4/6/2017 7:52 PM UTC

 418 reacted: Angry(166): Dexter Housel, Skip Markowski, Steven Benson, Ed Smith, Jean Wachter Keister, Mary Turner Klein, Sara O'Neill, George H. Miller, Holly Walker, Gina Jurak Stanley,
 Norah Tweit­Tvedt Tolentino, Gladys Smith Touhey, Tim Mummert, Darby Gjersvold­Gingery, Shea Alexander, Anita Sliman, Terri Crabtree, Christal Lopez, Andrea Montgomery Frazier, Angela
 Lee, David Anderson, Susie Wood, David Barthlow, Kevin Wilcox, Renee Deibert, Seamas Brader, Trudie Norman, Rick Denu, Dennis Renehan, Craig Williams, Mike Johnson, Kevin Zeigler, Julian
 Groves, Carol Blankenship, Tim Heinrich, Lindsey Robinson, Sam Thomas, Carolyn Jorgensen Fewster, Andrew Wiseman, Melinda Owens Cox, Jennifer Joy, Nedra Reidy Hicks, TJ Weber,
 Jessica Brooks Hatcher, Tina Unruh Pierce, Jennifer Wilczynski Gigliotti, John Michel, Lynn Roberts Davis, David Browne, Karen Johnson, Ryan Timothy Impallaria, Maxwell Rosenthal, Sharon
 Pierpoint, MaryAnn Cinquegrani Sebeck, Tom DeBerry, Pam Trainor, Fay Manser Knuckey, Blythe Apple Rollert, Larry Gardner, Mary Beth Lerner Tung, Brian Morris, Carol Lassahn, Brenda
 Kawiecki Larsen, Tania Rosa Bindhoff Frieswyk, Joe Millward, Bob Reed, Debbie Mininger Farthing, Ann Marie Devine, Kelly Grey, William Cahill, Joe Fern, Sandy Boynton Wooten, Maura Johnson
 Vlachos, Kirk Lurie, Ken Marsh, Karen Breeden, Guy Long, Bob Walton, Cyndi Burton, Lana Borzova, Robert P. Morneau, Frederick Denker, Tami Jackson Mills, Susan Tully, Julio Mazariegos,
 Karen Harding Wakefield, Kelly Marie Harding, Alan Eccleston, Erin Kellough Murphy, Neil O'Keefe, Jason Walter, Jared Rood, Ellie Donald, Tracy Baldwin, Chris Hägglund Belliston, Kevin Reilly,
 Ben Bobeck, Sonia S. Blue, Ryan Derby, Malachi Burke, Joel Maldonado, Ed Plummer, Kathy Mann, Steve Naus, Vicky Olsen, Ernie Beck, Jean Churn, Eddie Shoe, Joleen Hart, Karen Coleman
 Gibbons­Neff, Betsy Merrell, Janean Annette Ohin, Don Keils, Betsey Hobelmann, Tina Salser Greer, Alex Troy, Jonathan Wilkus, Tyler Graham, Ingrid Windsor, Paula Mudd, Jan ABorne, Jay Miller,
 Randy Pertiet, Mary Lou Stevens, Tim Kronner, Thomas DeGraba, Alice Noel, Chris Angelini Elrod, Bonnie Abrashoff, Michael Drury, Ron Spriestersbach, Joe Bags, Chanda Mimaros, Deena
 Lawson Daman, Steve Shank, Michael Debelius, Katie Hargrove, Jade Katz, McCusker Laci, Shannon Klisiewicz, Kathleen Kirkbride Garton, Carol Green, Rob Vlk, James Waters, David Marron,
 Amanda Shoemaker, Sascha Wasek, Cindy Roles, Jim Proctor, Jeff Fisher, Charles Lynch, Kathy Anderson Folkes, Greg Harris, David W. Bare, Craig Yokum, Alexis Gurganious, Baldr J. Magni,
 Julianna VenDouern, Christian Howes, Joe Zelechowski, Catrina Diem, Susan Whitson Bagley, Joseph Crisp, Nancy Mozal, Kathy Brown, Paul Rufe, Like(145): Joshua M, Stacey Marie, Leif Neve,
 Mary Wiehl, Mary Beth Brennaman, Sharon Blough, Jamayca 'May' Williams, Danielle Kimberly Churchill, Leslie Moore, Lucia Kim, Janine Stasik Harrison, Glenn Bolander, Maryanna Walls, Jamie
 Blackwood, Krista Story Newgent, Taylor Lyles, Stephanie Tucker, Candace Martino, Paul Highbarger, Brian Dolan, John Hollywood, Jeanne Diedrich Altman, Joshua Nolet, Crystal Lynn Donohue,
 Deanna Might Morin, Brenda Donaldson, Richard Landon, Dave Skolnick, Angel Anderson, Colin Wilson, Brian Jacobs, Chris Groobey, Kesa Summers, Juan Diego Ceballos, Julie Brand, Lisa Henry
 Hubbard, Tom Sterrett, Steven Biddle, Eric Linehan, Ginger Bigelow, Pietro Aretino, Rob Davis, Poppy Pete, Tiffany Epps, Katherine Spahn Kelly, Gary Marino, Angelina Kelly, Tim Tasker, Kim
 McNey Welling, Michael Anne Bunting, Greg Moore, Aaron Cohen, Henry Mack III, Karen Lewald Buscemi, Lori Gillikin, Madelyn Jamie, Heather Renee, Rebecca True Ebner, Chad Smith, Austin
 Robinson, Ai Sh, Carole Elkins Neal, Jeffrey Gilliams, Gregory DiSciullo, Patrick Whealton, Antonio Palas, Alex Hankewycz, Wendi Peters, Amrit Singh, Melissa Bolaños­Zelaya, Tom Bond, Bethany
 Palmisano, Janet Zimmerman, Margaret Gillich, John P. Ballard, Paula O'Connor, Matthew Howard, J.b. Bunting, Skye Regensburg, Mike Preston, Ryan Matthew, Kerry Toucey Johannssen,
 Francesca Kalend, Samantha Allen, Brian Notleh, Bryan Ament, Myrna Wheeler, Justin Smith, Jeff Schaufert, Candace Dillon, Leah Garner, Annette Mittleider, Kathleen Trumble, Woody
 Funderburk, Cathy Moen James, Jordan Kellermeyer, Daniella Ceccarelli Toomey, Caroline Foreback, Warren Barrett, Rob Zilnicki, Rachel Jessee, Barry Wood Jr., Scott Hollenbeck, Vickie Sellers,
 Kevin Chad, Anne Marie H. Scrivener, Karen Blake Klosterman, Kristopher Gaasch, Kim Lamphier, John Startt, Michelle Herb, Skip Hall, Jason Gilliece, Colin Smith, Debbie Meekins, Angie Downey­
 beswick, Conor Curran, Nathan Zolp, Jodi Brandes Slein, Lubomyr Murashchik, Scott Whitley, Brian Daly, Susie Matula, SipIt Slow, David Savick, Kimberly Coughlin, Marney Moore, Adam White,
 Leah Dellape Haas, Billy Adams, Mandy Knittle, Mark Bailey, Audrey Bailey, Tiffany Barron, Harry S. Brown, Luz Delgadillo, Susannah Warner Kipke, Deborah Wood, Welch Michael, Karla Trettel,
 Betty Chandler, Brendan Galligan, Katie Elizabeth, Michelle Duckworth, Tim Schmitt, Sad(91): Rachael Thornburg Lederer, Peter Collins, Dianna Harris, Lou Alberti, Carol Gilbreath Carden, Amanda
 Kate Pitner, Lisa Sis, Dianne Saunders, Daniel Gonsalves, April Peugh Holland, Barbara Caballero, Terri DePhillip Patterson, Laura Marie, Ty S. Godwin, Jorge Robinson, Kathie Peterson, Mac
 Love, Beth Stolte, Kimberly Nicholls, Winnie Robinette Umberger Ward, Dawn Tapper Nee, Kathie Rooney Stapleton, Daniel Chavez, Anita Coddington, Gina Hatfield, Jim Kaidy, Kimberly Kroener
 Worden, Denise Madaras, Catherine Hewitt, Debbie Hardy Prematta, Crystal Ingram Miller, Linda Elben­Adams, Teresa Kampmeyer, Dan Ruffin, Maria Stanley, Elizabeth M. Foster, Laura
 Zollinhofer, John McKnight, Pamela Taylor, Rosemary Bunda, Andrew Wood, Elizabeth Engleman, Diane Sullins Gutowski, Jodi Lovell, Catalina Gonzalez Pineda, Squicciarini Bill, Tina Gregor, Tina
 Siason, Brenda Bebber Sosa, Karen Routhier, Vanessa Dubs, Bryon BK Hartzog, Joanne Peterson Wharton, Steph Bagley, Sharon Moulton, Cristi Breanna Bruce, Randy Lohman, Bethany Siglin
 Ahlers, Robert N Christine Large, Lindy Marks, Terry Ann, Annelise Finkelstein, Matt Steele, Trisha Jackson, Cheryl Nethery Turner, Carole Marshall, Diana Dolan, Dawn Hite, Luisa Belanger
 Wayson, Christine Burke Eckrich, Rachel Willingham, Nikole Carder Brooks, Kelly Huynh, Carol Beatty, Colleen Maguire Phebus, Melinda Hileman, Debbie Wills, Christy Dasch­Crouse, Tina Norris,
 Kathy McCaffrey Herberger, Geralyn Ann, Dora Jinnette Winebrenner, Devon Rose Bristow, Chana R. Weiss, Christiane Harrell, Diana Pocius, Sarah Lorra, Andrew Grogg, Art Donkersloot, Peg
 Frain, Caroline Day Scruggs, Wow(6): Sarah Wood Cochran, Glenn Smith, Marlene MontesTerwilliger, Mary Beach, Jess Hull, Katherine Bloom, Love(4): Thomas Minnick Jr., Lindsay IP, Randi
 Levy, Lisa Elprin Shaw, Haha(1): Chelsea Carr and 5 more

 178 comments

         Helen B Kuhnsman Don't you know it's all about having power over people ....and their kids? The dems in Annapolis prefer the people helpless dependent and stupid.
         4/6/2017 7:55 PM UTC

             Angie Johnson Hannah Meanwhile Sheila Dixon is still getting a fat pension.
             4/6/2017 7:56 PM UTC · Reply

             Dolores Para You got that right!
             4/6/2017 8:03 PM UTC · Reply

             Diana Kemp You mean steala dixon
             4/6/2017 8:35 PM UTC · Reply

         Joe Costa The DemoncRat's prove on this issue where their priorities are, and they are NOT in the best interest of Maryland students! What losers!
         4/6/2017 8:04 PM UTC

             Leo Kelly Just wait and see the untold Millions the state may lose because of politically motivated sanctuary BS, the Federal revenue loss hasn't even begun yet.....if/when it does
             happen make sure you interview those who will lose their jobs about how they feel being pushed aside in favor of foreigners, sorry off topic a little but the thread is about revenue
             loss.
             4/6/2017 8:11 PM UTC · Reply

             Walter Weldon Sadly enough, the Dems will continue to be voted into power in Md...it's an absolute shame!
             4/6/2017 8:34 PM UTC · Reply

             Patrick Johnson Y'all can move to a red state...
             4/7/2017 12:32 PM UTC · Reply

             Ed Weigman Patrick Johnson or ya'll can stay and make maryland great again by voting the demoncrats out of office.
             4/7/2017 4:28 PM UTC · Reply

         Sarah Lorra Ugh. I'm trying to think of a time (recently) when what the teachers union wanted was actually beneficial to anyone but the teachers union. Coming up blank. Quite sad. 
         Well, thank you, Gov. Larry Hogan, for trying.
         4/6/2017 8:05 PM UTC

             Denise Chapman Toth Never and it never will be beneficial to anyone but themselves. Teachers unions are paid by teachers to serve the TEACHERS­ therefore their interests can
             not be to serve the best interest of students. They can not serve 2. masters especially when their interests are in opposition!
             Marylanders need to wake up­ our students are suffering!!
Well, thank you, Gov. Larry Hogan, for trying.
4/6/2017 8:05 PM UTC

         Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 11 of 37
    Denise Chapman Toth Never and it never will be beneficial to anyone but themselves. Teachers unions are paid by teachers to serve the TEACHERS­ therefore their interests can
    not be to serve the best interest of students. They can not serve 2. masters especially when their interests are in opposition!
    Marylanders need to wake up­ our students are suffering!!
    4/6/2017 9:10 PM UTC · Reply

Allison Wilder This is great news for Maryland's schools, students, and teachers. I'm sorry our governor is does not celebrate the incredible work of our public schools, which
strengthen the state in so many ways.
4/6/2017 8:07 PM UTC

    Justin Lewis LOL
    4/6/2017 8:11 PM UTC · Reply

    Matthew Hornbaker Haha you got jokes
    4/6/2017 8:17 PM UTC · Reply

    Marianne Cox Wilburn What's the likelihood that Baltimore City Schools will ever produce another Thurgood Marshall anytime soon? Here's a hint: slim and none, and slim just rode
    out of town.
    4/6/2017 9:03 PM UTC · Reply

    Jason Willoughby And with this bill those Baltimore kids would be worse off especially since private schools am can select students
    4/6/2017 11:56 PM UTC · Reply

    Larry Hogan The MSDE strongly opposed and the Maryland State Board of Education voted unanimously against it.
    4/7/2017 12:23 AM UTC · Reply

    Frank Scallio The drop out rate in Baltimore City is almost 30%. The rest of the state is less than 13%. You tell me that giving more money to Baltimore City is the answer. They get
    the most per student annually other than Worcester County. It is all about parenting at home and that is a fact. Baltimore City has so many chiefs and no indians that rule the roost.
    4/8/2017 10:37 AM UTC · Reply

Tom Lippert Once more condemned to live in the past and keeping the children subservient to the existing whims of the Legislature.
4/6/2017 8:12 PM UTC

Kollin Murphy Get rid of Common Core. PLEASE save our kids.
4/6/2017 8:18 PM UTC

    Denise Chapman Toth Our children need to be taught the TRUTH­ go back to teaching from source documents not politically correct indoctrination.
    4/6/2017 9:12 PM UTC · Reply

Bob Martin Now isn't that something
4/6/2017 8:23 PM UTC

Mike Strang Good job, Democrats.
4/6/2017 8:31 PM UTC

LoRa Diaz Get rid of common core and DEVOS
4/6/2017 8:32 PM UTC

Diana Kemp Sad they vote to fund planned parenthood and vote against helping kids already born.
4/6/2017 8:34 PM UTC

Brian Reed Just keep voting the same idiots in,,,, and u expect change,,,,lol. Smfh
4/6/2017 8:39 PM UTC

Adam White Figures the state legislature is ruining the state of Maryland im started to really hate it here ! It's sad
4/6/2017 8:40 PM UTC

Marney Moore So happy our legislators voted to support public schools and sad our governor chooses to try and shift public school money into private schools leaving public schools
underfunded, understaffed and overwhelmed. As a maryland taxpayer, I support public schools. I do not want my tax money going to private schools.
4/6/2017 8:42 PM UTC

    Len Bender Seems your just as unaware what this bill will do as the democrats that voted for it...
    4/6/2017 9:39 PM UTC · Reply

    Marney Moore So you are saying that the legislators with the bill right is front of them are unaware of what the bill is supposed to do? That's kinda a reach. So the legislators voted
    for it, governor vetoed it and then enough of them cared about it to overthrow the veto. Doesn't sound like they are unaware of what the bill was about. Just because we don't agree
    doesn't mean we are unaware, it means we do not agree with you.
    4/6/2017 9:48 PM UTC · Reply

    Carol Davis Sort of like what Nancy Pelosi said about Obamacare ­­ You have to pass the bill in order to find out whats in it. Open your eyes, legislators do not read all the bills put in
    front of them. Used to go to Annapolis to advocate for my organization and what mattered most tot he legislators there was how much money you gave them. In fact, committee
    chairs would not even bring a bill up to committee unless you greased their palms. Doubt things have changed in the last 10 years. The "mike's need to go!!
    4/7/2017 12:12 AM UTC · Reply

    Marney Moore Really? I went to annapolis about a month ago and had conversations with various legislators and their assistants and felt that everyone was concerned and well
    informed about the bills we were discussing. So you think what the teachers union is bribing legislators? Lotta legislators to overthrow a veto means alot of money. Doubtful.
    4/7/2017 12:21 AM UTC · Reply

    Larry Hogan You seem to be very confused. I have provided record funding for public education three years in a row. The democrats in the legislature unanimously voted to give
    public money to private schools. MSDE, the Washington Post, Baltimore Sun all opposed this bill and the State Board of Education voted unanimously against it. It makes us one of the
    least accountable school systems in America. Passing it was shameful and dangerous.
    4/7/2017 12:31 AM UTC · Reply

    Janice Lepore Larry Hogan, record funding isn't adequate funding. The Kirwan commission ­ the chair of which is your appointee ­ says the schools are underfunded to the tune of
    1.9 billion. What is your plan to address that? 

    Maryland has fallen from the top educational slot to #5. What is your plan to address that? 

    Where is the public statement from MSDE against this bill? And what about the many organizations that supported it? 

    Finally, "one of the least accountable schools systems in America"? Do you even read these articles? One of the ones you posted said only 10 states have submitted their plans,
    leaving 40 (including ours, because this bill didn't write the plan, it established some guidelines) outstanding. So there is not even data to support such an outlandish claim ­ it literally
    does not exist yet. But if we wanted to hypothesize, that same article said "most" of the ten plans submitted relied more heavily on standardized test scores than this bill allows ­
    which means several didn't ­ and several additional states' draft plans also include lower reliance on standardized test score than the 65% allowed in the bill. Assuming of course
    Where is the public statement from MSDE against this bill? And what about the many organizations that supported it? 

    Finally, "one of the least accountable schools systems in America"? Do you even read these articles? One of the ones you posted said only 10 states have submitted their plans,
         Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 12 of 37
    leaving 40 (including ours, because this bill didn't write the plan, it established some guidelines) outstanding. So there is not even data to support such an outlandish claim ­ it literally
    does not exist yet. But if we wanted to hypothesize, that same article said "most" of the ten plans submitted relied more heavily on standardized test scores than this bill allows ­
    which means several didn't ­ and several additional states' draft plans also include lower reliance on standardized test score than the 65% allowed in the bill. Assuming of course
    that standardized test scores are what you feel merit "accountability standards." Which ­ again ­ isn't supported by the data I've seen but if you have other information I'd be glad to
    see it.
    4/7/2017 2:36 AM UTC · Reply

    Marney Moore I don't think I am confused. The difference is determining a failing school between 65% to 70% with a various mix of factors and what is going to be done about it.
    Nowhere did I see you say figure out what is wrong with our schools and fix it. I see you wanting more charter schools to pull money away from public schools, taking tours of
    private schools and announcing the baltimore schools are not spending money wisely meanwhile the population of baltimore is decreasing making baltimore a challenge all the way
    around. You keep arguing about percentages of what makes a failing school (complicated ) meanwhile you decide when the schools have to start because it's good for the tourism
    industry. Exscuse me? Your arguing about my kids education and decided the tourism industry is more important?
    4/7/2017 2:56 AM UTC · Reply

Alice Noel #DroptheMikes #MillerandBuschmsutGO These two are the worst and the rest of the Dem majority needs to go with them 30 years to build a corrupt base...TERM LIMITS !
#TermLimitsforMDLegislature
4/6/2017 8:46 PM UTC

    Krissy Magruder Greer Totally agree
    4/6/2017 8:54 PM UTC · Reply

Scott Andrzejewski Welcome to Maryland!
4/6/2017 8:48 PM UTC

Tammy Doring Only when it becomes about People and not Party will be see sensible legislation.
4/6/2017 8:49 PM UTC

Michelle Middleton WE ARE SAD TOO. The Dems want to keep things as they are. WE SUPPORT YOU. Don't give up fighting for the welfare of this state! :(
4/6/2017 8:50 PM UTC

Jan ABorne Gotta keep the " good ol boys " club in business.
4/6/2017 8:53 PM UTC

Laurie Close Bjorlykke I have just retired after teaching 30 years in MD public schools. In my opinion the " Creative Approach " is a euphemism for " Cover up and Corruption". Very
sad day for education !
4/6/2017 8:53 PM UTC

Bob Hardee The commies at work.
4/6/2017 8:57 PM UTC

Phillip Yeti Turner I guess it'll now match the rest of this tax hungry, citizen constricting state! 
Sickening
4/6/2017 8:57 PM UTC

Jess McClain I have a problem with the word "failing schools". I'm a public school teacher and promise you, the educators in those "failing schools" would describe it differently.
4/6/2017 9:04 PM UTC

    Larry Hogan This is about ESSA, an Obama administration federal effort aimed at fixing "persistently failing schools"
    4/7/2017 12:34 AM UTC · Reply

    Janice Lepore For heaven's sake ­ be honest (or accurate!) As I have posted on your page before (and anyone involved in education policy should know):

    The Every Student Succeeds Act was the re­authorization bill of the Elementary and Secondary Education Act of 1965. Reauthorization is required every 5 years. Because of the
    obstruction in Congress the reauthorization was delayed, and ultimately Senator Lamar Alexander (R­TN) was the main author of ESSA, and it was carried forward by Senator Paul
    Ryan. 

    The previous reauthorization was No Child Left Behind, which failed to raise standards and started on a path to a national curriculum. ESSA was written to move authority back to the
    states. 

    "During a keynote speech at an American Enterprise Institute event in Washington, (U.S. Sen. Lamar Alexander, the Republican co­author of ESSA) said he understands Maryland
    education officials’ concerns about the legislators’ approach.

    “But my goal with this law was to return that debate and that decision right there — to the Maryland state Assembly in Annapolis,” Alexander said. “They should decide how much
    test results should factor into their accountability system.”
    4/7/2017 12:25 PM UTC · Reply

    Tricia Grimes Willis If it is about that than why are you constantly commenting that teachers and their union do not care about children?
    4/9/2017 11:29 PM UTC · Reply

    Jess McClain I understand very well what it is about. I'm saying that using that kind of language and labeling is part of the problem.
    4/9/2017 11:40 PM UTC · Reply

Alice Noel #DroptheMikes #MillerandBuschmsutGO These two are the worst and the rest of the Dem majority needs to go with them 30 years to build a corrupt base...TERM LIMITS !
#TermLimitsforMDLegislature
4/6/2017 9:06 PM UTC

    Brent Parrott Agreed!!! Worthless!!!
    4/6/2017 9:23 PM UTC · Reply

Cindy Barton­Lewis Then fix the failing schools instead of moving tax dollars to for profit private schools.
4/6/2017 9:09 PM UTC

    Larry Hogan This bill prohibits us from fixing failing schools.
    4/7/2017 9:24 PM UTC · Reply

Fern Brittain Those in the Senate and House that have been there forever need to go
4/6/2017 9:24 PM UTC

Anne E. Reid no surprise. The bar is so low in this state. How many years do you want? 50, 60, where does it end? Multiple issues at all levels in public schools and administrations
have their hands tied; it is difficult to impart knowledge when behavior is undisciplined, no consequences, lack of parental guidance etc. The fear: most private schools do not have to
deal with these types of problems. Parents want their children to attend, have high expectations and if child is not willing to cooperate and participate, they are asked to leave.
4/6/2017 9:25 PM UTC
4/6/2017 9:24 PM UTC

Anne E. Reid no surprise. The bar is so low in this state. How many years do you want? 50, 60, where does it end? Multiple issues at all levels in public schools and administrations
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         Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 13 of 37
deal with these types of problems. Parents want their children to attend, have high expectations and if child is not willing to cooperate and participate, they are asked to leave.
4/6/2017 9:25 PM UTC

    John Sanford That's the way it should be.
    4/7/2017 2:38 AM UTC · Reply

Adam Guthrie Teacher unions don't care about the children. Sad day. Vote democrats out.
4/6/2017 9:29 PM UTC

    Mark Firla None of them? Not even in Chicago?
    4/6/2017 9:45 PM UTC · Reply

    Tricia Scharnberger Yea that will never happen.
    4/6/2017 10:16 PM UTC · Reply

Steve Iannelli Why aren't you celebrating all of the bipartisan measures that you signed into law today? You're a Republican governor in a blue state. Send a positive message about
cooperation. Show the rest of country how its done.
4/6/2017 9:31 PM UTC

    Larry Hogan We do that every day when it is warranted. This is not a celebration.
    4/7/2017 12:32 AM UTC · Reply

Eddie Shoe As a lifelong blue collar democrat it makes me sick to my stomach that the Beer Brothers are leading this state down the path to self destruction. These corrupt career
politicians could be the poster boys for how to ruin a constitutional republic.
4/6/2017 9:31 PM UTC

Kevin Chad Our legislature will be overturned the next election, we the people are paying attention. They ARE the problem
4/6/2017 9:40 PM UTC

Steph Bagley You've done your best Gov. Hogan...thank you for caring about all children of MD...in particular those children stuck in bad schools with no other options because the
Democratic leaders in our state and teachers unions are more concerned with playing politics...it's quite sad.
4/6/2017 9:42 PM UTC

    Tricia Scharnberger Wow Stephanie did you read that off a cue card? Sounds like it.
    4/6/2017 10:15 PM UTC · Reply

    Dave Eckert Tricia , maybe you're not use to reading intelligent posts.
    4/6/2017 10:22 PM UTC · Reply

    Steph Bagley Tricia Scharnberger No it's reality Tricia. There are many children who are in failing schools, who are not getting the education they deserve and have no other options
    because the Democrats in this state care more about politics than what kind of future these children have. Many of these schools have been like this for years, nothing changes.
    Gov. Hogan has tried, I commend him for it. His heart is in the right place, he cares about these children and it's a shame the Democrats in the MD House & Senate don't feel they have
    the right to a better education. Gov. Hogan was at a Charter School in the city when he vetoed this bill...you ask those children how they feel about their school and ask their parents
    where they would rather their children be. Granted there are some good public schools, but too many are not.
    4/6/2017 10:26 PM UTC · Reply

Micky J. Ferreira What did you expect since Maryland sheep are too stupid too think for themselves!
4/6/2017 10:03 PM UTC

Laura Ashley Cooper If you gave a care about public schools we wouldn't have to fight you!!!
4/6/2017 10:11 PM UTC

Tricia Scharnberger How about you fix them
So they are no longer failing instead of just whining about it.
4/6/2017 10:13 PM UTC

    Jeff Schaufert He tried. He was overruled. Keep up
    4/6/2017 10:30 PM UTC · Reply

    Larry Hogan The legislature just voted to prohibit improving persistently failing schools. It's not whining it is a fact.
    4/7/2017 12:37 AM UTC · Reply

    Bob Watters Did you read the bill? SMH.
    4/7/2017 12:44 AM UTC · Reply

    Bob Watters Sorry ­ that's meant for the governor.
    4/7/2017 12:45 AM UTC · Reply

    Tricia Scharnberger Fixing them is not turning them
    Into charter schools it's getting the people out that are not doing their jobs and putting in those that will
    4/7/2017 1:42 AM UTC · Reply

    Janice Lepore They prohibited state takeover. There's no prohibition against improvement ­ under the bill a committed government could work with local stakeholders and provide
    our kids with the strong schools they all deserve. If you decide to engage with such a plan, I'll be very glad to see it.
    4/7/2017 2:26 AM UTC · Reply

    China Williams Larry Hogan Are you sure that this is the most professional language to use with constituents? Is this you or is this a staffer? I'm just trying to understand why an
    elected official would want to speak to constituents in a condescending way.
    4/7/2017 9:43 PM UTC · Reply

    Julie Szymanski Lenhardt Good heavens ­ that was far from unprofessional or condescending. Regardless of who is responding (although I'm fairly certain the governor doesn't
    spend his day responding to FB comments), the response is direct but hardly offensive.
    4/8/2017 1:19 AM UTC · Reply

Annette Mittleider Of course those Md. Lawmakers are those wonderful Democrats! 
That party truly does not care about people. They are all about power and greed. A very corrupt organization. I don't understand how people are so blind to it. It couldn't be more obvious.
4/6/2017 10:14 PM UTC

Helen Ankney So the kids lose
4/6/2017 10:36 PM UTC

Bethany Palmisano You've got a tough road to hoe... with the political corruption in this state,.. keep slugging!
4/6/2017 10:14 PM UTC

Helen Ankney So the kids lose
         Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 14 of 37
4/6/2017 10:36 PM UTC

Bethany Palmisano You've got a tough road to hoe... with the political corruption in this state,.. keep slugging!
4/6/2017 10:59 PM UTC

Francesca Kalend You want to privatize our school in order to enrich your billionaires buddy such as your bestie the grisly lady!!
4/6/2017 11:09 PM UTC

    Larry Hogan I'm sorry that you were misinformed by propaganda. Your statement is absolutely false.
    4/7/2017 9:31 PM UTC · Reply

    China Williams Larry Hogan There are lots of ways to respond to constituents, especially if you disagree. But this is just not a respectful tone. Are you sure this is how you want to
    be viewed by the public?
    4/7/2017 9:45 PM UTC · Reply

    Francesca Kalend Wow! @ Larry Hogan
    Your tone reminds me of someone else฾!
    It is the true! It is not a propaganda.
    The truth hurts฾
    4/7/2017 11:41 PM UTC · Reply

Linda Giuffre If Governor Hogan's plan was implemented and failing schools became successful then the successful students would stop voting democrat. Democrats are all about the
vote. And only the vote.
4/6/2017 11:20 PM UTC

Patricia Rowe Maybe it will finally wake up people and cause them to vote the bullies and obstructionists out of office.
4/6/2017 11:25 PM UTC

Jody Stratman Kids fail because their parents fail.
4/6/2017 11:31 PM UTC

Dale A. Valentine look for the Union Thugs ruining the state.
4/6/2017 11:47 PM UTC

Susan Frank IF we really cared about children, we would have put into place real accountability for ALL schools. A majority of students graduating from high school can barely read,
write, or do math. Why has not one cared before this?
4/7/2017 12:08 AM UTC

    Judy Robinson I don't know the percentage anymore but a fair number of Univ of Md new students have to take remedial reading and math.

    How does a child go through 12 grades and no one knows they can't READ!
    4/7/2017 12:30 AM UTC · Reply

    Michelle Mills Because NO CHILD LEFT BEHIND... passing grade average is now 60% or higher they don't have to know anything to progress to the next level.
    4/7/2017 2:07 AM UTC · Reply

Greg Hudnet Dems did the same to our last Republican Governor.
4/7/2017 1:19 AM UTC

Joe Millward Vote these power grabbing jerks out of office.
4/7/2017 1:29 AM UTC

Rob Reese Keep up the fight Governor! This house still believes that trying a new approach is better than failing the same old way!
4/7/2017 1:53 AM UTC

Don Hinds Our legislature is not ours, it belongs to special interests like the teachers union.
4/7/2017 2:13 AM UTC

Kimm Rowan Term limits.
4/7/2017 2:26 AM UTC

John Sanford Teachers unions are the problem. They are an activist bunch and all they care about is indoctrination of our children into their left wing ideology. Politics should not be
allowed in schools folks.
4/7/2017 2:41 AM UTC

Donavin Petre Not so low they lose the next election.
Libs have this state hook, line, and sinker, thanks to jerrymandering and 3 crooked districts
4/7/2017 2:53 AM UTC

Joseph Eckart The Democrats are ruining Maryland. That's why i left. When the Republican governor wanted gaming in Maryland the Democrats avoided it. When the Democrats got the
governorship back they approved gaming claiming it was to save the education and the comptroller argued it would not, yet still passed. Glad to see Hogan in charge but he needs to take
a strong stance against these democrats and anyone else in that state that violate the public trust and federal laws.
4/7/2017 2:57 AM UTC

Tom Lester Failing teacher's unions win the day..Sorry kids.
4/7/2017 3:29 AM UTC

    Tricia Grimes Willis Yes because the goal of teachers is for kids to fail...makes total sense.
    4/9/2017 10:19 PM UTC · Reply

    Tom Lester Tenure has become more important than results.
    4/9/2017 10:22 PM UTC · Reply

    Tricia Grimes Willis If you actually ever spoke to a teacher or volunteered in a school you would know how ridiculous that statement is. Most counties in this state barely pay
    teachers enough to get by. It's not the kind of job you do for the money. The amount of work is no where near worth the money. Did you read that in a headline somewhere?
    4/9/2017 10:58 PM UTC · Reply

    Tom Lester Your addled mind doesn't know anything about my relation and volunteer work at my daughters school , which happens to be one of the finest in Anne Arundel county.
    Why are you so afraid of school choice? Why are you so threatened ? If you feel the money isn't enough , then maybe you shouldn't teach.Salaries are going up , but failing schools
    should give students another choice. I know the problem rests in the failed local governments like PG CO and Balt.City. Be well
    4/9/2017 11:06 PM UTC · Reply
    4/9/2017 10:58 PM UTC · Reply

    Tom Lester Your addled mind doesn't know anything about my relation and volunteer work at my daughters school , which happens to be one of the finest in Anne Arundel county.
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         Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 15 of 37
    should give students another choice. I know the problem rests in the failed local governments like PG CO and Balt.City. Be well
    4/9/2017 11:06 PM UTC · Reply

    Tricia Grimes Willis If you look at any counties website you can see their pay scales. With the exception of a couple, most "tenured" teachers make in the low 40s and top out in
    the 70s or low 80s. Many counties went 6 or more years without step increases. A lot of other people with a lot less education make more than that. Sorry but this idea of teachers
    just being greedy and not caring about kids is just preposterous
    4/9/2017 11:06 PM UTC · Reply

    Tricia Grimes Willis You prove my point...I do it despite the money because the kids are my number one priority. I'm not threatened at all by school choice. I'm just tired of my
    governor calling me a thug and blaming all that is wrong in education on teachers. When the politicians make all these, curriculum, testing, budgeting decision throw them at the
    teachers every few years, never asking for our professional opinions and then blame us when things go wrong.
    4/9/2017 11:16 PM UTC · Reply

    Tom Lester Then don't vote for the DemocRATS if things are so bad.They make the decisions in this state.You appear to be a smart lovely lady, but you must be happy in your job.If
    the money issue keeps popping up , then do something that pays more. You obviously have talent. I left the corporate world for a job that paid less , but I love it. I hope you find
    happiness and satisfaction.
    4/9/2017 11:23 PM UTC · Reply

    Tricia Grimes Willis I've never voted for a democrat. I voted for Hogan in fact. I'm in it for the kids despite what he seems to think and seems to want everybody else to think.
    4/9/2017 11:39 PM UTC · Reply

Angie Harsh Unless we rid our govt. in Maryland of the obstructive Democratic party it will not matter who is governor..We have a great governor that is continually being ham strung by
people that do not have Maryland's best interest in any part of their agenda. We have to change this in the next election. It used to be that to have Republicans and Democrats in various
parts of govt, equated to a balance of power..that is no longer the case. Democrats have clearly become obstructionists and need to go. They are all in the teacher unions pocket. The
NEA is the worst thing that ever happened to good teachers and students.
4/7/2017 4:21 AM UTC

Christopher Greeley School funding millions. A lottery that helps fund Maryland schools
4/7/2017 6:23 AM UTC

    Rebecca Davids Martin Like the casinos?!?
    4/7/2017 3:02 PM UTC · Reply

Stephen Murchake Think BEFORE you vote. There may just be a better way.
4/7/2017 10:30 AM UTC

Jim Kaidy Maryland education continues to circle the drain...
4/7/2017 10:38 AM UTC

    Laura Stanfield Hmm well until Hogan took office we had some if the best schools in the country
    4/7/2017 7:15 PM UTC · Reply

    Jim Kaidy A few, but democrat run government is destroying them from the inside out.
    4/7/2017 7:17 PM UTC · Reply

Kelli Keith Lol so fix the failing schools instead of abandoning them.
4/7/2017 11:01 AM UTC

Sean Berry At least they are in favor of you aborting you your child before they have to enter our POS school system. Maybe if we put more planned parenthood in Baltimore and PG
county..the failing school systems in MD would be resolved in a generation through Democratic supported genocide.
4/7/2017 11:17 AM UTC

    Jessica Krug D'Angelo Maybe u should look up some stats before making that comment. PG Cty has an all time high 81% graduation rate now which is above the state avg of 80%.
    Something is being done right in that cty considering that graduation rate in 2014 was 69%
    4/7/2017 3:48 PM UTC · Reply

    Keith O'Daniel That's there all time high, 81%? And that's something to boast about? That means almost one in five students will not graduate high school. Yes, they are making
    improvements in Prince George's, but the job is nowhere close to done. If you believe an 81% graduation rate is acceptable you are probably part of the problem. If you accept
    mediocrity then that's what you will receive.
    4/7/2017 8:45 PM UTC · Reply

    Sean Berry Jessica Krug D'Angelo 2015 rates for PUBLIC schools in PG was 78.2%, state wide it was 87.8% (Washington Post). They rank in the bottom 3 (SURPRISE, BALTIMORE
    is at the bottom. Biggest school budget of the state, worst in the state rankings).
    4/7/2017 9:09 PM UTC · Reply

    Jessica Krug D'Angelo Keith Daniel I graduated from PG and it makes me mad when people make assumptions about the school system. The schools are totally to blame...parents
    are mostly to blame in these districts...and yes 81% is something to boast about when it was 68% only a few yrs earlier. It's called improvement.
    4/7/2017 11:28 PM UTC · Reply

    Sean Berry Ill agree parents or lack of parents are the MAJOR issue. But when you have a teachers union that fights to keep poor performing teachers in a job, when they fight to
    strip the state of its ability to improve a poor performing school, then you have an issue. When you have people like Boss Hogg Senator Thomas V. Mike Miller Jr. who is more
    interested in his own self importance than the people of the state, you end up like this...
    4/8/2017 12:43 AM UTC · Reply

Becca Steiner It's your job to make sure that those schools are NOT TRAPS! What a horrible thing to say and ALLOW of the public schools in your own state. DO SOMETHING! BE
BETTER!
4/7/2017 11:39 AM UTC

    Rebecca Dubiel He's not a dictator. It takes our lawmakers to agree with him. And yes many of our schools are traps.
    4/7/2017 1:03 PM UTC · Reply

    Sean Berry Rebecca Dubiel your entire page is filled with hate and rage... you should seek treatment.
    4/7/2017 9:11 PM UTC · Reply

    Larry Hogan This bill takes away any ability to improve persistently failing schools.
    4/7/2017 9:29 PM UTC · Reply

    China Williams Larry Hogan Could you please provide me information for this statement? It would help us understand why you vetoed the bill.
    4/7/2017 9:46 PM UTC · Reply

Sandra Blankenship Unacceptable
4/7/2017 12:19 PM UTC
    China Williams Larry Hogan Could you please provide me information for this statement? It would help us understand why you vetoed the bill.
    4/7/2017 9:46 PM UTC · Reply

         Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 16 of 37
Sandra Blankenship Unacceptable
4/7/2017 12:19 PM UTC

Sharon Harper This is why I'll got without to keep my child in a private school. Quite frankly, I'm not willing to jeopardize another child in the failing MCPS system. Had one there, pulled
her out to homeschool because of extensive bullying by students and teachers. 

So the best thing you can do is make sure we get some tax breaks for the education expenses we are incurring instead of letting our children become puppets for the school teachers
union.
4/7/2017 12:30 PM UTC

    Shanon Sullivan Polanco Pena Too bad the teachers in private schools do not have the training and passion as the public schools. You would think since you are paying so much
    they have to be qualified, but they don't. This is a good decision for MD.
    4/7/2017 1:35 PM UTC · Reply

    Cathy Marlowe Parker Shanon Sullivan Polanco Pena This has not been my experience. Education qualifications do not equate to passion and solid teaching strategies. I have
    worked in both settings. I find that the public­school teachers are drained and suffocating under the amount of documentation. I have found that private school teachers have more
    optimism and time to address concerns for their smaller number of students. I have also found that the private school teachers are much better supported by their school's
    administration.
    4/7/2017 2:38 PM UTC · Reply

    Sharon Harper Wow bitter much? Bet you belong to a union.
    4/7/2017 3:14 PM UTC · Reply

Carol Schroyer Beall ๊
4/7/2017 12:35 PM UTC

Jim Gerkin When enough people homeschool or move maybe the idiots in Annapolis will get a clue. But I doubt it....
4/7/2017 12:48 PM UTC

Remash Guyah Very nasty rhetoric Hogan DeVos. Very nasty
4/7/2017 1:24 PM UTC

    Larry Hogan Saying I'm sad for the kids isn't exactly nasty. Your comment however is.
    4/7/2017 9:34 PM UTC · Reply

    Tricia Grimes Willis Constantly implying that teachers don't care about kids is sad. Do you ever talk to teachers about education?
    4/9/2017 10:13 PM UTC · Reply

    Remash Guyah Hogan, I voted for you and I admire many things about you, especially for standing up for MDs environment by banning fracking. Yet, you have a nasty attitude. That
    lost you my vote.
    4/9/2017 10:15 PM UTC · Reply

    Remash Guyah On another, my 5 year old's teacher is caring, hard working and puts in more hours than she is paid for just for the sake of the kids.
    4/9/2017 10:30 PM UTC · Reply

Nedra Reidy Hicks Voters in MD are ignorant..Vote party lines will get you no where..Mr Berry..your solution is to KILL the children then there would be no reason for education ???
How evil..JMO
4/7/2017 1:58 PM UTC

Cathy Marlowe Parker VOTE THEM OUT!
4/7/2017 2:33 PM UTC

Steven Biddle Governor Hogan keep your head up and continue on your quest. You can't fix stupid unfortunately. It's a shame
4/7/2017 3:09 PM UTC

Carolyn Jorgensen Fewster Of course they did, idiots
4/7/2017 4:05 PM UTC

Linda Rosatelli When will those idiots wake up. I feel for you. You have great ideas for Maryland. Hope the others wake up before it's too late.
4/7/2017 4:12 PM UTC

Holly Martin did you really expect anything less from these fools MD democraps legislature..i know change in gov takes a long time. we have Gov Hogan..thank God. We need to change
the MD legislature..but until the citizens start paying attention to what the democrap is voting on, nothing will change.clear the swamp in Annapolis.
4/7/2017 4:34 PM UTC

Ed Weigman Interestingly, the quality of Maryland public schools has always seemed to be complained about thoughout the previous decades and everyone seems to be the problem
except the person doing the complaining.
4/7/2017 4:42 PM UTC

Cheryl Walker DeFelice What is the sense of having a republican gov when the libs in Annapolis can override his vetoes???? Wake up maryland
4/7/2017 5:28 PM UTC

Kimberly Nicholls That is why my daughter is in private school. She WILL be held to higher academic standards.
4/7/2017 5:40 PM UTC

Albert Jones The dems must be made to pay the price for this. It is more then time to turn maryland red as a ripe apple. Vote against every dem all the time.
4/7/2017 9:13 PM UTC

Julie Sylvester Ok , did I read this right, no money for schools but money for the abortion group?
4/8/2017 12:26 AM UTC

Laura L. Alvarez How about making undocumented immigrants pay out of state tuition for ALL schooling that their children get. UNLESS they can prove that they have filed and paid
income tax. That should improve the budgets.
4/8/2017 1:06 AM UTC

Dianna Harris I'm sorry for all children of this state.
4/8/2017 11:24 AM UTC

Patricia Carper Maryland legislators are horrible! How is it that the entire state is at the mercy of two jacka$$es running the legislature. Does no one else have a voice! Larry Hogan is an
awesome leader and the voice of reason in a sea of stupidity. Keep fighting for what's right Governor and keep communicating when things like this happens! We all know the medias not
reporting it!
4/8/2017 3:43 PM UTC
        4/8/2017 11:24 AM UTC

        Patricia Carper Maryland legislators are horrible! How is it that the entire state is at the mercy of two jacka$$es running the legislature. Does no one else have a voice! Larry Hogan is an
                 Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 17 of 37
        awesome leader and the voice of reason in a sea of stupidity. Keep fighting for what's right Governor and keep communicating when things like this happens! We all know the medias not
        reporting it!
        4/8/2017 3:43 PM UTC

        Nancy Craun #$! $/% democrated
        4/8/2017 5:36 PM UTC

        Stacey Marie Hyperbolic much?
        4/8/2017 6:01 PM UTC

        Judy Rodriguez




        4/9/2017 11:37 AM UTC

        Judy Rodriguez Democrats have destroyed Maryland. Nothing they do surprises me.
        4/9/2017 11:37 AM UTC

        CaroleSue Lefler Black Simple solution­­vote them out!! The people have the power but maybe not the sense.
        4/9/2017 7:58 PM UTC

*** Last time when these items were scanned Facebook server did not return these elements. This may indicates that elements have been deleted, or that Facebook has no longer provided it.
                   Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 18 of 37


Larry Hogan
The "Protect Our Schools Act" would weaken accountability standards for Maryland public schools, risk federal funding for K­12 education, and trap thousands of children in failing schools. Instead
of racing to the top, we would be trapped in a race to the bottom. This bill would make us one of the least accountable school systems in the United States of America.

Too many children continue to be stuck in schools that are consistently failing them, year after year. So today, I signed a veto rejecting this legislation, and sent it back to the General Assembly. 

I am calling on all members of the legislature, from both sides of the aisle, to do the right thing for our kids and sustain this veto. You can help. Call your legislators and urge them to do the right thing
for Maryland students => bit.ly/MDLEGCONTACT
                            Length
                            00:58




     *** 4/5/2017 10:04 PM UTC

 73 reacted: Like(62): Todd Offutt, Bob Walton, Joanne Ferreira Talbot, Mark Counselman, Jo Ann Talbot, Joe Paradise, Skip Markowski, Debbie Snyder, Tammy Doring, Barbara Burgess, Barbara
 Wagner, Corinne Knazik, Mike Preston, Steven Burton, Dexter Housel, Mathew Palmer, Karen Blake Klosterman, Rich Mallory, Linda Bynaker Anderson, Kate Jordan, Sharon Moulton, Alison Tavik,
 Sally Mccolgan, Randy Pullman, Sharon Hazel Johnson, William Cahill, Suzanne Blackburn, Nathan Zolp, Lindy Whetzel, Tyler Argubright, Rita Crawford, Nancy O'Connell Mellin, Nedra Reidy Hicks,
 Antonio Palas, Diana Semelsberger, Joanne Eve, Eileen McGovern Crowley, Maria Rossi, Frederick Denker, Bob Martin, Forrest Ewing, Diana Murphy McColgan, Carol Beatty, William Barrell,
 Carolyn Jorgensen Fewster, Pete Hicks, Kellie Patton, Amrit Singh, Mike Johnson, Chris Kendall, James Brandner, Tony Robey, Squicciarini Bill, Dana Peace Brown, Dave Robles, Poppy Pete,
 Kristopher Gaasch, Sonia Mangum, Anne E. Reid, Stacie Vaszil, Patrick Mullan, Brian Dolan, Angry(5): Joleen Morrow, Elissa Loeb Waldman, Riki Conrey, Courtnay Oatts, Laura Ashley Cooper,
 Love(4): Bonnie Ann, Luisa Belanger Wayson, Carol Dunn, Helen Ankney, Wow(1): Linda Stanley Brown and 1 more

 29 comments

         Allison Chetney Heintz The right thing for Maryland students would be to override this veto. The Protect Our Schools Act gives local communities more control over schools ­ the
         factors by which they are rated and how failing schools are dealt with. It reduces the impact of standardized testing. It also keeps public money in public schools, instead of in voucher
         programs that have been proven not to work (and that create greater inequality in schooling). I know I'm going to urge my legislators to override this veto, and I hope others will join me.
         4/5/2017 10:08 PM UTC

              Randy Pullman Go to hell
              4/6/2017 11:07 AM UTC · Reply

              Remash Guyah Randy Pullman you are a nasty person
              4/6/2017 12:07 PM UTC · Reply

         Karen Gibson Scheffenacker I don't think these failing schools are just because of funding I think its more about how much the parents are helping them.
         4/5/2017 11:26 PM UTC

              Bonnie Ann Actually it's more about how many union thugs work in them
              4/6/2017 3:17 PM UTC · Reply

              Michael Harris I absolutely agree. Children need support at home. Most teachers are good, hard working, compassionate, caring, and intelligent people. It sickens me to see so many
              ignorant people with such tunnel vision that they can't see the whole problem.
              4/7/2017 2:07 AM UTC · Reply

         Janice Lepore 20 posts on this bill without ever once articulating your own plan or explaining the benefits of the current state draft plan. I'm disappointed in your lack of leadership. I
         have contacted my legislators and urged them to over­ride this shortsighted veto.
         4/5/2017 11:37 PM UTC

         David Helfman Tell the truth, governor. This law actually strengthens accountability. It includes 2/3 test­based student outcomes and 1/3 accountability for non­assessment factors, like
         school climate, access to high­quality teachers, availability of advanced or IB courses, etc. When evaluating the schools don't just measure test scores; also make sure that the
         opportunities are provided to students in those schools!
         4/5/2017 11:39 PM UTC

         Lesley Handy No, you're dead wrong. The answer to failing schools is NOT to funnel MY tax dollars to private institutions. 90% of people who benefit from vouchers are already in the
         private system.

         Give us a plan outlining HOW you plan on holding private schools accountable & not simply for profit. Give us a plan outlining WHERE my tax dollars will go. 

         Then we can talk. 

         DeVos is unqualified & your appearance of supporting her is deeply disturbing Governor.
         4/5/2017 11:48 PM UTC

              Nancy Bauman Cristiano Agreed. I don't want my tax dollars to be used for private schools that might push a religious agenda, but I'm not dismissing them out of hand. We need
              greater transparency overall.
              4/6/2017 12:36 PM UTC · Reply

              Lesley Handy Absolutely. There is a place for private institutions, but how will they be held accountable?
              4/6/2017 12:40 PM UTC · Reply

         Alice Noel #LoveOurGov Thanks Governor Hogan for supporting those who were robbed of their voice in Annapolis for so long. Make the necessary changes and get Maryland back on
         track. We need to raise standards and expectations for our children and get rid of the participation trophy mentality. Teach our kids to navigate life successfully, even through difficulties
         and pressures that can arise. Politically correct needs to go by the wayside when the future success of our children and our State is at stake.
         4/6/2017 12:20 AM UTC

         Shawn Edwards Governor Hogan can you please do something about Baltimore County Executive he has lost his mind.pls help
         4/6/2017 1:43 AM UTC

         Kati Thomas Thankful that there are enough votes in the house and senate to override your veto. You need to actually listen to public school teachers and administrators who work in
         the neediest schools. Your veto of this legislation is an embarrassment. Maryland has been a top performing school district, but we need to insure equity of resources for all students in
         Maryland and we need to fully fund the public school programs that have been proven to work. Funneling public funds to private charter and private parochial schools is NOT a solution.
         4/6/2017 2:16 AM UTC

         Susan Jones We must support school choice.... public, private and charter schools.
         4/6/2017 4:19 AM UTC

         Mike Strang Liberals care more about Illegals and criminals than Americans, the law abiding, and the future of children.
        4/6/2017 2:16 AM UTC

        Susan Jones We must support school choice.... public, private and charter schools.
                 Case 8:17-cv-02162-DKC Document 1-6 Filed 08/01/17 Page 19 of 37
        4/6/2017 4:19 AM UTC

        Mike Strang Liberals care more about Illegals and criminals than Americans, the law abiding, and the future of children.
        4/6/2017 10:45 AM UTC

             Remash Guyah It appears you attended a failing school.
             4/6/2017 12:12 PM UTC · Reply

             Mike Strang How did you come to that conclusion? Is it because facts don't matter? Look at every single instance where the liberal left in Maryland has thrown away common
             sense solely due to political beliefs? It happens all the time. Maybe your misunderstanding of my comment is due to the fact that your reading and comprehension skills are not up to
             par. I guess they don't teach that at ITT Tech. Funny how liberals like yourself jump right to insults instead of forming an educated response. I wonder which elementary school you
             failed out of. 